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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-02594-RM-SKC

   UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

   v.

   MEDIATRIX CAPITAL INC., et al.,

           Defendants,

   And

   MEDIATRIX CAPITAL FUND LTD., et al.,

           Relief Defendants.

        SECOND QUARTERLY REPORT OF RECEIVER’S ACTIVITIES COVERING THE
               PERIOD FROM JANUARY 1, 2021 THROUGH MARCH 31, 2021

           TO THE HONORABLE RAYMOND P. MOORE, UNITED STATES DISTRICT

   JUDGE:

           COMES NOW, Brick Kane of Robb Evans & Associates LLC, and submits his Second

   Quarterly Report of Receiver’s Activities, for the period from January 1, 2021 through March

   31, 2021, attached hereto as Exhibit 1.

                                                      Respectfully submitted,

   DATED: April 30, 2021                              /s/ Gary Owen Caris
                                                      Gary Owen Caris, Calif. Bar No. 088918
                                                      BARNES & THORNBURG LLP
                                                      2029 Century Park East, Suite 300
                                                      Los Angeles, CA 90067
                                                      Telephone: (310) 248-3880
                                                      Facsimile: (310) 248-3894
                                                      Email: gcaris@btlaw.com
                                                      Attorneys for Brick Kane of Robb Evans &
                                                      Associates LLC, Receiver
   19784818v1
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                             Brick Kane of Robb Evans & Associates LLC
                                             Receiver of
                                  Mediatrix Capital Fund LTD., et al.
          SECOND QUARTERLY REPORT OF RECEIVER'S ACTIVITIES
                                  January 1, 2021 through March 31, 2021


   This report covers the activities of the Receiver1 since the first report (Doc. 215). Section XI
   of the Order Appointing Receiver (Doc. 153) (Order) directs the Receiver to file a quarterly
   report and accounting of the Receiver’s administration. This is the second report to the Court
   on the progress of the receivership. It does not constitute an audit of financial condition and
   is intended only to provide information for use by the Court in assessing the progress of the
   receivership.

   The Order specifies that the Quarterly Status Report shall contain the following:

   A.       A summary of the operations of the Receiver;
   B.    The amount of cash on hand, the amount and nature of accrued administrative
   expenses and the amount of unencumbered funds in the estate;
   C.    A schedule of all the Receiver’s receipts and disbursements (attached as Exhibit A to
   the Quarterly Status Report), with one column for the quarterly period covered and a second
   column for the entire duration of the receivership;
   D.     A description of all known Receivership Property, including approximate or actual
   valuations, anticipated or proposed dispositions, and reasons for retaining assets where no
   disposition is intended;
   E.      A description of liquidated and unliquidated claims held by the Receivership Estate,
   including the need for forensic and/or investigatory resources; approximate valuations of
   claims; and anticipated or proposed methods of enforcing such claims (including likelihood
   of success in: (i) reducing the claims to judgment; and, (ii) collecting such judgments);
   F.       A list of all known creditors with their addresses and the amounts of their claims;
   and,
   G.     The Receiver's recommendations for a continuation or discontinuation of the
   receivership and the reasons for the recommendations.

   1Reference to the Receiver in this report means the Receiver, the Receiver’s deputies, the Receiver’s staff, and his
   counsel.


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   Summary of Operations
   During this reporting period, the Receiver has primarily concentrated on marketing the real
   properties set forth in the first quarterly report. There have been no additional real properties
   identified.

   The status of each property is discussed below.

   The amount of cash on hand, the amount and nature of accrued administrative
   expenses and the amount of unencumbered funds in the estate
   As of March 31, 2021, the Receiver was holding $8,431,706.93 net of $125,424.11 in accrued
   and unpaid fees and costs. As detailed on Exhibit A, accrued and unpaid fees and costs for
   the Receiver and his staff total $42,807.71 and accrued and unpaid fees and costs for the
   Receiver’s counsel total $82,616.40. A motion for approval of fees and costs for this period
   of the receivership will be filed not later than June 15, 2021 as provided by the Order.
   Schedule of Receipts and Disbursements
   Attached at Exhibit A is the Receivership’s Administrative Report that details receipts and
   disbursements by month (pages 1-6). Exhibit A also details receipts and disbursements by
   defendant and the Receiver’s fees and costs by billing codes required by the Securities and
   Exchange Commission.
   Description of all known Receivership Property
   Real Property
   The descriptions of the following real properties were previously provided to the Court. The
   current status of each property is described below.
   1201 Lloyd's Road Little Elm, TX
   This property is under a sale contract for $3,550,000. The Receiver anticipates filing a motion
   seeking Court approval of the sale, subject to an overbid procedure, in the next few weeks.
   1197 Lloyds Road Little Elm, TX
   This property is being marketed for sale.
   8221 Sheridan St. Scottsdale, AZ
   Subsequent to this reporting period, the Court approved the Receiver’s motion confirming
   the sale of this property (Doc 247). Escrow has been opened and is expected to close very
   soon.



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   7349 Casitas Del Rio Scottsdale, AZ
   Subsequent to this reporting period, the Court approved the Receiver’s motion confirming
   the sale of this property (Doc 247). Escrow has been opened and is expected to close very
   soon.
   Lots in Port Charlotte, Florida
   Upon an order from this Court granting the joint motion to preserve this property 2, the
   Receiver’s sale motion was denied without prejudice. The property remains a frozen asset.
   Personal Property

   The descriptions of personal property were previously provided to the Court.

   During the reporting period, a Jeep Wrangler owned by Bryant Sewall was sold, generating net
   proceeds to the receivership estate of $9,266.62.

   Liquidated and Unliquidated Claims
   As previously reported, the Receiver was evaluating the potential liquidated and unliquidated
   claims pertaining to Equiti US LLC, Equiti Capital UK Limited and Equiti Armenia CJSC
   (collectively, “Equiti”). There have been no further developments as to Equiti.
   The Plaintiff provided additional documents to the Receiver during the reporting period.
   Among those documents, information was provided as to commission payments totaling
   $2,819,035 made by the entity defendants to sales agents. Of the total commission payments,
   $1,588,504 appear to have been paid to domestic sales agents. The Receiver is analyzing
   whether to seek to recoup the commission payments and the most cost-effective means of
   doing so.
   Creditor List
   There has been no new information since the first quarterly report.
   Receiver's Recommendation as to Continuation of Receivership
   The Receiver recommends continuing the receivership in order to liquidate and maximize the
   value of the real property and tangible and intangible personal property assets that have value
   for the receivership estate and that are discussed in this report.




   2   The Receiver did not object to the joint motion.

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   Respectfully Submitted,

         /s/

   Brick Kane of Robb Evans & Associates LLC
   Receiver




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            EXHIBIT A
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                           SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                           Receivership Administrative Report
                                      From Inception (September 11, 2020) to March 31, 2021


                                                Previouly                                                1/1/2021~
                                                Reported          Jan 21         Feb 21       Mar 21     3/31/2021    TOTAL
Defendant & Corporate Funds
   Bryant /Bev Sewall or Barb Yoss
       Bryant/Bev Sew or B. Yoss #0736                0.00             0.00           3.91        0.00         3.91         3.91
   Total Bryant /Bev Sewall or Barb Yoss              0.00             0.00           3.91        0.00         3.91         3.91


   A.L.A. Trust
       Wells Fargo Bank NA Clearing              24,730.41             0.00           0.00        0.00         0.00    24,730.41
   Total A.L.A. Trust                            24,730.41             0.00           0.00        0.00         0.00    24,730.41


   BLUEISLE_WL
      Advanced Markets (UK) Ltd x1818           853,940.57             0.00           0.00        0.00         0.00   853,940.57
   Total BLUEISLE_WL                            853,940.57             0.00           0.00        0.00         0.00   853,940.57


   BLUEISLE2_WL
      Advanced Markets (UK) Ltd x1822            50,000.00             0.00           0.00        0.00         0.00    50,000.00
   Total BLUEISLE2_WL                            50,000.00             0.00           0.00        0.00         0.00    50,000.00


   Bryant E. Sewall
      USAA Federal Savings #5212                      0.00             0.00       1,502.31        0.00     1,502.31     1,502.31
      Sale of 2012 Jeep Wrangler                      0.00             0.00       9,266.62        0.00     9,266.62     9,266.62
      Banco Popular xxxx8741                    112,188.44             0.00           0.00        0.00         0.00   112,188.44
      Navy Federal CU xxxx7026                        5.02             0.00           0.00        0.00         0.00         5.02
      Navy Federal CU xxxx7165                      452.20             0.00           0.00        0.00         0.00       452.20
      Service Credit Union xxx86                    181.26             0.00           0.00        0.00         0.00       181.26
   Total Bryant E. Sewall                       112,826.92             0.00      10,768.93        0.00    10,768.93   123,595.85


   Island Technologies LLC
       Banco Popular xxxx0862                       500.00             0.00           0.00        0.00         0.00      500.00
       Banco Popular xxxx0846                       500.00             0.00           0.00        0.00         0.00      500.00
       Banco Popular xxx9329                         15.00             0.00           0.00        0.00         0.00       15.00



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                                      Receivership Administrative Report
                                    From Inception (September 11, 2020) to March 31, 2021


                                             Previouly                                                 1/1/2021~
                                             Reported           Jan 21         Feb 21       Mar 21     3/31/2021     TOTAL
   Banco Popular xxx9027                       61,564.52             0.00           0.00        0.00         0.00     61,564.52
Total Island Technologies LLC                  62,579.52             0.00           0.00        0.00         0.00     62,579.52


Keystone Business Trust
   BBVA Compass xxxx3921                       10,239.84             0.00           0.00        0.00         0.00      10,239.84
   BBVA Compass xxxx3827                    1,359,337.46             0.00           0.00        0.00         0.00   1,359,337.46
Total Keystone Business Trust               1,369,577.30             0.00           0.00        0.00         0.00   1,369,577.30


Michael & Victoria Stewart
   USAA Federal Savings #8132                       0.00             0.00       1,717.03        0.00     1,717.03       1,717.03
   MidFirst Bank x8270                          3,905.42             0.00           0.00        0.00         0.00       3,905.42
Total Michael & Victoria Stewart                3,905.42             0.00       1,717.03        0.00     1,717.03       5,622.45


Michael Stewart
   Banco Popular xxxx1784                      30,050.66             0.00           0.00        0.00         0.00     30,050.66
   Hughes Federal CU xxx6503                       68.64             0.00           0.00        0.00         0.00         68.64
   Wells Fargo Bank xxxx9286                      450.91             0.00           0.00        0.00         0.00        450.91
Total Michael Stewart                          30,570.21             0.00          0.00         0.00         0.00     30,570.21


Michael Young
   Banco Popular xxxx9843                     262,773.38             0.00          0.00         0.00         0.00    262,773.38
   Key Bank xxxx6425                            5,334.52             0.00          0.00         0.00         0.00      5,334.52
   Key Bank xxxx7726                           25,934.98             0.00          0.00         0.00         0.00     25,934.98
   UBS Financial Services xxx7885                   0.00       311,095.84          0.00         0.00   311,095.84    311,095.84
Total Michael Young                           294,042.88       311,095.84          0.00         0.00   311,095.84    605,138.72


Sale of PR Property
    Drohan Lee LLP                          1,870,674.53             0.00          0.00         0.00         0.00   1,870,674.53
Total Sale of PR Property                   1,870,674.53             0.00          0.00         0.00         0.00   1,870,674.53




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                                             From Inception (September 11, 2020) to March 31, 2021


                                                      Previouly                                                 1/1/2021~
                                                      Reported           Jan 21         Feb 21       Mar 21     3/31/2021       TOTAL


       Salve Regina Trust
           UBS Financial Services xxx7422                    0.00     1,429,941.54           0.00        0.00   1,429,941.54   1,429,941.54
       Total Salve Regina Trust                              0.00     1,429,941.54           0.00        0.00   1,429,941.54   1,429,941.54


       Sandy Toes LLC
          Drohan Lee LLP                             2,434,590.35             0.00           0.00        0.00          0.00    2,434,590.35
       Total Sandy Toes LLC                          2,434,590.35             0.00           0.00        0.00          0.00    2,434,590.35


       Victoria Stewart
           Wells Fargo Bank xxxx9200                       500.96             0.00           0.00        0.00          0.00         500.96
       Total Victoria Stewart                              500.96             0.00           0.00        0.00          0.00         500.96


       West Beach LLC
          Banco Popular xxxx5590                         5,662.86             0.00           0.00        0.00          0.00        5,662.86
       Total West Beach LLC                              5,662.86             0.00           0.00        0.00          0.00        5,662.86


   Total Defendant & Corporate Funds                 7,113,601.93     1,741,037.38      12,489.87        0.00   1,753,527.25   8,867,129.18

   Interest Income                                       1,968.16          915.67         983.34     1,088.92       2,987.93       4,956.09
Total Funds Collected                                7,115,570.09     1,741,953.05      13,473.21    1,088.92   1,756,515.18   8,872,085.27


Expenses
   Real Property Expenses
      1197 Lloyds Rd Little Elm, TX
           Property Taxes                                    0.00         1,172.62          0.00         0.00      1,172.62       1,172.62
           Appraisal                                     1,200.00         1,200.00          0.00         0.00      1,200.00       2,400.00
           Electricity                                      35.14            12.08         15.16        11.66         38.90          74.04
       Total 1197 Lloyds Rd Little Elm, TX               1,235.14         2,384.70         15.16        11.66      2,411.52       3,646.66




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                                         Receivership Administrative Report
                                       From Inception (September 11, 2020) to March 31, 2021


                                                Previouly                                                  1/1/2021~
                                                Reported           Jan 21         Feb 21       Mar 21      3/31/2021    TOTAL


1201 Lloyds Rd. Little Elm, TX
    Locksmith Services                                 0.00             0.00           0.00       418.32       418.32      418.32
    Beehive Ag Services                                0.00             0.00           0.00     1,190.75     1,190.75    1,190.75
    Property Taxes                                     0.00        80,955.93           0.00         0.00    80,955.93   80,955.93
    Appraisal Services                             1,750.00             0.00       1,750.00         0.00     1,750.00    3,500.00
    Electricity
        2 Story House                                276.99          120.14         186.29       286.28        592.71     869.70
        Barn                                          31.00           10.00          10.00        10.00         30.00      61.00
        Garage Apt                                   152.14          118.22         239.81       288.73        646.76     798.90
        Point                                         33.65           10.00          10.00        29.59         49.59      83.24
   Total Electricity                                 493.78          258.36         446.10       614.60      1,319.06    1,812.84


   Insurance                                       1,356.39         2,404.00       1,085.67     1,202.00     4,691.67    6,048.06
   Lawn and Yard Maintenance                         356.00             0.00         880.00         0.00       880.00    1,236.00
   Maintenance                                       285.00             0.00           0.00         0.00         0.00      285.00
Total 1201 Lloyds Rd. Little Elm, TX               4,241.17        83,618.29       4,161.77     3,425.67    91,205.73   95,446.90


5406 S. Cottonwood Ct.
    Property Insurance                                 0.00          731.23        1,204.38     1,333.43     3,269.04    3,269.04
    Property Taxes                                11,390.43            0.00            0.00    11,207.89    11,207.89   22,598.32
Total 5406 S. Cottonwood Ct.                      11,390.43          731.23        1,204.38    12,541.32    14,476.93   25,867.36


7439 Casitas Del Rio Dr AZ
    Mortgage/Heloc                                23,969.54         3,931.44       3,931.44     3,931.44    11,794.32   35,763.86
    Appraisal Services                             1,200.00             0.00           0.00         0.00         0.00    1,200.00
    Insurance                                        447.29           770.32         347.89       385.16     1,503.37    1,950.66
    Locksmith Services                               369.72             0.00           0.00         0.00         0.00      369.72
Total 7439 Casitas Del Rio Dr AZ                  25,986.55         4,701.76       4,279.33     4,316.60    13,297.69   39,284.24




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                                            Receivership Administrative Report
                                          From Inception (September 11, 2020) to March 31, 2021


                                                   Previouly                                                  1/1/2021~
                                                   Reported           Jan 21         Feb 21       Mar 21      3/31/2021       TOTAL


   8221 E Sheridan Scottsdale, AZ
       Mortgage Payments                                  0.00            0.00           0.00     25,529.00     25,529.00      25,529.00
       Property Taxes                                     0.00            0.00           0.00      2,080.19      2,080.19       2,080.19
       Appraisal Services                             1,725.00            0.00           0.00          0.00          0.00       1,725.00
       Insurance                                        340.40          639.54         288.82        319.77      1,248.13       1,588.53
       Locksmith Services                               493.72            0.00           0.00          0.00          0.00         493.72
   Total 8221 E Sheridan Scottsdale, AZ               2,559.12          639.54         288.82     27,928.96     28,857.32      31,416.44


   Port Charlotte, FL Lots
       Appraisal Fees                                   550.00            0.00           0.00         0.00           0.00         550.00
       Insurance                                          9.68           28.56          12.89        14.28          55.73          65.41
       Property Taxes                                 3,442.46            0.00           0.00         0.00           0.00       3,442.46
   Total Port Charlotte, FL Lots                      4,002.14           28.56          12.89        14.28          55.73        4,057.87


Total Real Property Expenses                         49,414.55        92,104.08       9,962.35    48,238.49    150,304.92     199,719.47


Fund Balance 3/31/21                              7,066,155.54                                                8,672,365.80   8,672,365.80


Receiver Fees & Costs
   Fees
       Receiver
           B. Kane                                    8,139.60         5,027.40       1,641.60     2,907.00      9,576.00      17,715.60
       Total Receiver                                 8,139.60         5,027.40       1,641.60     2,907.00      9,576.00      17,715.60


       Deputies
          F. Jen                                          0.00           150.75         150.75         0.00        301.50         301.50
          A. Jen                                      8,926.20         1,573.20          34.20       171.00      1,778.40      10,704.60
          C. Callahan                                12,982.50         4,770.00       2,475.00     1,620.00      8,865.00      21,847.50
          C. DeCius                                   1,725.30           741.15         303.75       741.15      1,786.05       3,511.35



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                               SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                           Receivership Administrative Report
                                         From Inception (September 11, 2020) to March 31, 2021


                                                  Previouly                                                   1/1/2021~
                                                  Reported           Jan 21         Feb 21        Mar 21      3/31/2021      TOTAL
                 H. Jen                                 15.00             0.00           0.00          0.00         0.00          15.00
                 K. Johnson                         13,645.80         5,004.90       2,562.75      6,180.75    13,748.40      27,394.20
                 T. Chung                            3,376.80         6,482.25           0.00          0.00     6,482.25       9,859.05
          Total Deputies                            40,671.60        18,722.25       5,526.45      8,712.90    32,961.60      73,633.20


       Total Fees                                   48,811.20        23,749.65       7,168.05     11,619.90    42,537.60      91,348.80


       Receiver Costs
          Postage & Delivery                             0.00             8.00          0.00          53.61        61.61         61.61
          Website Support                              306.09            48.80        110.90          48.80       208.50        514.59
       Total Receiver Costs                            306.09            56.80        110.90        102.41        270.11        576.20


       Legal Fees & Costs
          Barnes & Thornburg LLP
              Legal Fees                            56,933.90         8,073.00      19,484.10     51,405.95    78,963.05    135,896.95
              Legal Costs                            1,437.53            35.40         115.67        205.53       356.60      1,794.13
          Total Barnes & Thornburg LLP              58,371.43         8,108.40      19,599.77     51,611.48    79,319.65    137,691.08


          Engelman Berger, PC
             Legal Costs                                98.54             0.00           0.00        114.25       114.25         212.79
             Legal Fees                              7,647.50             0.00       1,320.50      1,862.00     3,182.50      10,830.00
          Total Engelman Berger, PC                  7,746.04             0.00       1,320.50      1,976.25     3,296.75      11,042.79

       Total Legal Fees & Costs                     66,117.47         8,108.40      20,920.27     53,587.73    82,616.40    148,733.87

   Total Receiver Fees & Costs                     115,234.76        31,914.85      28,199.22     65,310.04   125,424.11    240,658.87


Total Expenses                                     164,649.31       124,018.93      38,161.57    113,548.53   275,729.03    440,378.34

Fund Balance                                     6,950,920.78                                                              8,431,706.93



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                                                              SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                                                      Receivership Administrative Report
                                                          From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                           Previouly                                                                 Salve Regina    Asset Analysis      Asset         Case           Forensic
                                           Reported        Sewall       Stewart        Young        A.L.A. Trust         Trust        & Recovery      Disposition   Administration   Accounting
Defendant & Corporate Funds
   Bryant /Bev Sewall or Barb Yoss
       Bryant/Bev Sew or B. Yoss #0736            0.00         0.00         3.91            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Bryant /Bev Sewall or Barb Yoss          0.00         0.00         3.91            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   A.L.A. Trust
       Wells Fargo Bank NA Clearing          24,730.41         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total A.L.A. Trust                        24,730.41         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   BLUEISLE_WL
     Advanced Markets (UK) Ltd x1818        853,940.57         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total BLUEISLE_WL                        853,940.57         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   BLUEISLE2_WL
     Advanced Markets (UK) Ltd x1822         50,000.00         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total BLUEISLE2_WL                        50,000.00         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Bryant E. Sewall
      USAA Federal Savings #5212                  0.00         0.00     1,502.31            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Sale of 2012 Jeep Wrangler                  0.00     9,266.62         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Banco Popular xxxx8741                112,188.44         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Navy Federal CU xxxx7026                    5.02         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Navy Federal CU xxxx7165                  452.20         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Service Credit Union xxx86                181.26         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Bryant E. Sewall                   112,826.92     9,266.62     1,502.31            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Island Technologies LLC
       Banco Popular xxxx0862                   500.00         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
       Banco Popular xxxx0846                   500.00         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
       Banco Popular xxx9329                     15.00         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
       Banco Popular xxx9027                 61,564.52         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Island Technologies LLC             62,579.52         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Keystone Business Trust
      BBVA Compass xxxx3921                   10,239.84        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      BBVA Compass xxxx3827                1,359,337.46        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Total Keystone Business Trust           1,369,577.30        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00




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                                                            SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                                                    Receivership Administrative Report
                                                        From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                         Previouly                                                                 Salve Regina    Asset Analysis      Asset         Case           Forensic
                                         Reported        Sewall       Stewart        Young        A.L.A. Trust         Trust        & Recovery      Disposition   Administration   Accounting


   Michael & Victoria Stewart
      USAA Federal Savings #8132                0.00         0.00     1,717.03            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      MidFirst Bank x8270                   3,905.42         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Michael & Victoria Stewart          3,905.42        0.00     1,717.03            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Michael Stewart
      Banco Popular xxxx1784               30,050.66         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Hughes Federal CU xxx6503                68.64         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Wells Fargo Bank xxxx9286               450.91         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Michael Stewart                   30,570.21         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Michael Young
      Banco Popular xxxx9843              262,773.38         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Key Bank xxxx6425                     5,334.52         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      Key Bank xxxx7726                    25,934.98         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
      UBS Financial Services xxx7885            0.00         0.00         0.00            0.00             0.00       311,095.84            0.00          0.00             0.00          0.00
   Total Michael Young                    294,042.88         0.00         0.00            0.00             0.00       311,095.84            0.00          0.00             0.00          0.00

   Sale of PR Property
       Drohan Lee LLP                    1,870,674.53        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Sale of PR Property             1,870,674.53        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Salve Regina Trust
       UBS Financial Services xxx7422           0.00         0.00         0.00    1,429,941.54             0.00             0.00            0.00          0.00             0.00          0.00
   Total Salve Regina Trust                     0.00         0.00         0.00    1,429,941.54             0.00             0.00            0.00          0.00             0.00          0.00

   Sandy Toes LLC
      Drohan Lee LLP                     2,434,590.35        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Sandy Toes LLC                  2,434,590.35        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   Victoria Stewart
       Wells Fargo Bank xxxx9200              500.96         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total Victoria Stewart                     500.96         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

   West Beach LLC
      Banco Popular xxxx5590                 5,662.86        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
   Total West Beach LLC                      5,662.86        0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

Total Defendant & Corporate Funds        7,113,601.93    9,266.62     3,223.25    1,429,941.54             0.00       311,095.84            0.00          0.00             0.00          0.00



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                                                                 SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                                                         Receivership Administrative Report
                                                             From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                              Previouly                                                                 Salve Regina    Asset Analysis      Asset         Case           Forensic
                                              Reported        Sewall       Stewart        Young        A.L.A. Trust         Trust        & Recovery      Disposition   Administration   Accounting


   Interest Income                               1,968.16         0.00         0.00            0.00             0.00             0.00            0.00          0.00          2,987.93         0.00
Total Funds Collected                         7,115,570.09    9,266.62     3,223.25    1,429,941.54             0.00       311,095.84            0.00          0.00          2,987.93         0.00

Expenses
   Real Property Expenses
      1197 Lloyds Rd Little Elm, TX
           Property Taxes                             0.00    1,172.62         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
           Appraisal                              1,200.00    1,200.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
           Electricity                               35.14       38.90         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
       Total 1197 Lloyds Rd Little Elm, TX        1,235.14    2,411.52         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00

       1201 Lloyds Rd. Little Elm, TX
           Locksmith Services                         0.00      418.32         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00
           Beehive Ag Services                        0.00    1,190.75         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00
           Property Taxes                             0.00   80,955.93         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00
           Appraisal Services                     1,750.00    1,750.00         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00
           Electricity
               2 Story House                       276.99       592.71         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
               Barn                                 31.00        30.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
               Garage Apt                          152.14       646.76         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
               Point                                33.65        49.59         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
           Total Electricity                       493.78     1,319.06         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00

           Insurance                              1,356.39    4,691.67         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00
           Lawn and Yard Maintenance                356.00      880.00         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00
           Maintenance                              285.00        0.00         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00
       Total 1201 Lloyds Rd. Little Elm, TX       4,241.17   91,205.73         0.00            0.00             0.00             0.00            0.00          0.00              0.00         0.00

       5406 S. Cottonwood Ct.
           Property Insurance                        0.00         0.00         0.00        3,269.04             0.00             0.00            0.00          0.00              0.00         0.00
           Property Taxes                       11,390.43         0.00         0.00       11,207.89             0.00             0.00            0.00          0.00              0.00         0.00
       Total 5406 S. Cottonwood Ct.             11,390.43         0.00         0.00       14,476.93             0.00             0.00            0.00          0.00              0.00         0.00

       7439 Casitas Del Rio Dr AZ
           Mortgage/Heloc                       23,969.54         0.00         0.00            0.00        11,794.32             0.00            0.00          0.00             0.00          0.00
           Appraisal Services                    1,200.00         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
           Insurance                               447.29         0.00         0.00            0.00         1,503.37             0.00            0.00          0.00             0.00          0.00
           Locksmith Services                      369.72         0.00         0.00            0.00             0.00             0.00            0.00          0.00             0.00          0.00
       Total 7439 Casitas Del Rio Dr AZ         25,986.55         0.00         0.00            0.00        13,297.69             0.00            0.00          0.00             0.00          0.00



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                                                             SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                                                     Receivership Administrative Report
                                                         From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                          Previouly                                                                 Salve Regina    Asset Analysis      Asset         Case           Forensic
                                          Reported        Sewall       Stewart        Young        A.L.A. Trust         Trust        & Recovery      Disposition   Administration   Accounting


   8221 E Sheridan Scottsdale, AZ
       Mortgage Payments                         0.00         0.00         0.00            0.00        25,529.00             0.00            0.00           0.00            0.00          0.00
       Property Taxes                            0.00         0.00         0.00            0.00         2,080.19             0.00            0.00           0.00            0.00          0.00
       Appraisal Services                    1,725.00         0.00         0.00            0.00             0.00             0.00            0.00           0.00            0.00          0.00
       Insurance                               340.40         0.00         0.00            0.00         1,248.13             0.00            0.00           0.00            0.00          0.00
       Locksmith Services                      493.72         0.00         0.00            0.00             0.00             0.00            0.00           0.00            0.00          0.00
   Total 8221 E Sheridan Scottsdale, AZ      2,559.12         0.00         0.00            0.00        28,857.32             0.00            0.00           0.00             0.00         0.00

   Port Charlotte, FL Lots
       Appraisal Fees                          550.00         0.00         0.00            0.00             0.00             0.00            0.00           0.00             0.00         0.00
       Insurance                                 9.68         0.00         0.00           55.73             0.00             0.00            0.00           0.00             0.00         0.00
       Property Taxes                        3,442.46         0.00         0.00            0.00             0.00             0.00            0.00           0.00             0.00         0.00
   Total Port Charlotte, FL Lots             4,002.14         0.00         0.00           55.73             0.00             0.00            0.00           0.00             0.00         0.00

Total Real Property Expenses                49,414.55    93,617.25         0.00       14,532.66        42,155.01             0.00            0.00           0.00             0.00         0.00

Fund Balance 3/31/21                      7,066,155.54
Receiver Fees & Costs
   Fees
       Receiver
           B. Kane                           8,139.60         0.00         0.00            0.00             0.00             0.00            0.00       2,428.20         7,147.80         0.00
       Total Receiver                        8,139.60         0.00         0.00            0.00             0.00             0.00            0.00       2,428.20         7,147.80         0.00

       Deputies
          F. Jen                                 0.00         0.00         0.00            0.00             0.00             0.00            0.00           0.00           60.30          0.00
          A. Jen                             8,926.20         0.00         0.00            0.00             0.00             0.00            0.00           0.00          171.00          0.00
          C. Callahan                       12,982.50         0.00         0.00            0.00             0.00             0.00        4,770.00       4,095.00            0.00          0.00
          C. DeCius                          1,725.30         0.00         0.00            0.00             0.00             0.00            0.00           0.00            0.00          0.00
          H. Jen                                15.00         0.00         0.00            0.00             0.00             0.00            0.00           0.00            0.00          0.00
          K. Johnson                        13,645.80         0.00         0.00            0.00             0.00             0.00            0.00      13,748.40            0.00          0.00
          T. Chung                           3,376.80         0.00         0.00            0.00             0.00             0.00            0.00           0.00            0.00      3,798.90
       Total Deputies                       40,671.60         0.00         0.00            0.00             0.00             0.00        4,770.00      17,843.40          231.30      3,798.90

   Total Fees                               48,811.20         0.00         0.00            0.00             0.00             0.00         4,770.00     20,271.60         7,379.10     3,798.90

   Receiver Costs
      Postage & Delivery                         0.00         0.00         0.00            0.00             0.00             0.00            0.00           0.00           61.61          0.00
      Website Support                          306.09         0.00         0.00            0.00             0.00             0.00            0.00           0.00          208.50          0.00
   Total Receiver Costs                        306.09         0.00         0.00            0.00             0.00             0.00            0.00           0.00          270.11          0.00



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                                                                       Receivership Administrative Report
                                                           From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                             Previouly                                                                Salve Regina    Asset Analysis      Asset         Case           Forensic
                                             Reported       Sewall       Stewart        Young        A.L.A. Trust         Trust        & Recovery      Disposition   Administration   Accounting


       Legal Fees & Costs
          Barnes & Thornburg LLP
              Legal Fees                       56,933.90        0.00         0.00            0.00             0.00             0.00       35,121.60      23,629.05        20,212.40         0.00
              Legal Costs                       1,437.53        0.00         0.00            0.00             0.00             0.00            0.00           0.00           356.60         0.00
          Total Barnes & Thornburg LLP         58,371.43        0.00         0.00            0.00             0.00             0.00       35,121.60      23,629.05        20,569.00         0.00

          Engelman Berger, PC
             Legal Costs                           98.54        0.00         0.00            0.00             0.00             0.00            0.00           0.00          114.25          0.00
             Legal Fees                         7,647.50        0.00         0.00            0.00             0.00             0.00        2,992.50           0.00          190.00          0.00
          Total Engelman Berger, PC             7,746.04        0.00         0.00            0.00             0.00             0.00        2,992.50           0.00          304.25          0.00

       Total Legal Fees & Costs                66,117.47        0.00         0.00            0.00             0.00             0.00       38,114.10      23,629.05        20,873.25         0.00

   Total Receiver Fees & Costs                115,234.76        0.00         0.00            0.00             0.00             0.00       42,884.10      43,900.65        28,522.46     3,798.90

Total Expenses                                164,649.31   93,617.25         0.00       14,532.66        42,155.01             0.00       42,884.10      43,900.65        28,522.46     3,798.90

Fund Balance                                6,950,920.78




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                            SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                       Receivership Administrative Report
                        From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                                         Accounting/                       1/1/21~
                                                          Auditing        Tax Issues       3/31/21           Total
           Defendant & Corporate Funds
              Bryant /Bev Sewall or Barb Yoss
                  Bryant/Bev Sew or B. Yoss #0736                 0.00          0.00               3.91          3.91
              Total Bryant /Bev Sewall or Barb Yoss               0.00          0.00               3.91          3.91

              A.L.A. Trust
                  Wells Fargo Bank NA Clearing                    0.00          0.00               0.00     24,730.41
              Total A.L.A. Trust                                  0.00          0.00               0.00     24,730.41

              BLUEISLE_WL
                Advanced Markets (UK) Ltd x1818                   0.00          0.00               0.00    853,940.57
              Total BLUEISLE_WL                                   0.00          0.00               0.00    853,940.57

              BLUEISLE2_WL
                Advanced Markets (UK) Ltd x1822                   0.00          0.00               0.00     50,000.00
              Total BLUEISLE2_WL                                  0.00          0.00               0.00     50,000.00

              Bryant E. Sewall
                 USAA Federal Savings #5212                       0.00          0.00         1,502.31        1,502.31
                 Sale of 2012 Jeep Wrangler                       0.00          0.00         9,266.62        9,266.62
                 Banco Popular xxxx8741                           0.00          0.00             0.00      112,188.44
                 Navy Federal CU xxxx7026                         0.00          0.00             0.00            5.02
                 Navy Federal CU xxxx7165                         0.00          0.00             0.00          452.20
                 Service Credit Union xxx86                       0.00          0.00             0.00          181.26
              Total Bryant E. Sewall                              0.00          0.00        10,768.93      123,595.85

              Island Technologies LLC
                  Banco Popular xxxx0862                          0.00          0.00               0.00        500.00
                  Banco Popular xxxx0846                          0.00          0.00               0.00        500.00
                  Banco Popular xxx9329                           0.00          0.00               0.00         15.00
                  Banco Popular xxx9027                           0.00          0.00               0.00     61,564.52
              Total Island Technologies LLC                       0.00          0.00               0.00     62,579.52

              Keystone Business Trust
                 BBVA Compass xxxx3921                            0.00          0.00               0.00      10,239.84
                 BBVA Compass xxxx3827                            0.00          0.00               0.00   1,359,337.46

              Total Keystone Business Trust                       0.00          0.00               0.00   1,369,577.30




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                             SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                       Receivership Administrative Report
                        From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                                         Accounting/                       1/1/21~
                                                          Auditing        Tax Issues       3/31/21           Total


              Michael & Victoria Stewart
                 USAA Federal Savings #8132                       0.00          0.00         1,717.03        1,717.03
                 MidFirst Bank x8270                              0.00          0.00             0.00        3,905.42
              Total Michael & Victoria Stewart                    0.00          0.00         1,717.03        5,622.45

              Michael Stewart
                 Banco Popular xxxx1784                           0.00          0.00               0.00     30,050.66
                 Hughes Federal CU xxx6503                        0.00          0.00               0.00         68.64
                 Wells Fargo Bank xxxx9286                        0.00          0.00               0.00        450.91
              Total Michael Stewart                               0.00          0.00               0.00     30,570.21

              Michael Young
                 Banco Popular xxxx9843                           0.00          0.00             0.00      262,773.38
                 Key Bank xxxx6425                                0.00          0.00             0.00        5,334.52
                 Key Bank xxxx7726                                0.00          0.00             0.00       25,934.98
                 UBS Financial Services xxx7885                   0.00          0.00       311,095.84      311,095.84
              Total Michael Young                                 0.00          0.00       311,095.84      605,138.72

              Sale of PR Property
                  Drohan Lee LLP                                  0.00          0.00               0.00   1,870,674.53
              Total Sale of PR Property                           0.00          0.00               0.00   1,870,674.53

              Salve Regina Trust
                  UBS Financial Services xxx7422                  0.00          0.00     1,429,941.54     1,429,941.54
              Total Salve Regina Trust                            0.00          0.00     1,429,941.54     1,429,941.54

              Sandy Toes LLC
                 Drohan Lee LLP                                   0.00          0.00               0.00   2,434,590.35
              Total Sandy Toes LLC                                0.00          0.00               0.00   2,434,590.35

              Victoria Stewart
                  Wells Fargo Bank xxxx9200                       0.00          0.00               0.00        500.96
              Total Victoria Stewart                              0.00          0.00               0.00        500.96

              West Beach LLC
                 Banco Popular xxxx5590                           0.00          0.00               0.00      5,662.86
              Total West Beach LLC                                0.00          0.00               0.00      5,662.86

           Total Defendant & Corporate Funds                      0.00          0.00     1,753,527.25     8,867,129.18



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                                 SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                        Receivership Administrative Report
                          From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                                           Accounting/                       1/1/21~
                                                            Auditing        Tax Issues       3/31/21         Total


            Interest Income                                         0.00          0.00         2,987.93      4,956.09
         Total Funds Collected                                      0.00          0.00     1,756,515.18   8,872,085.27

         Expenses
            Real Property Expenses
               1197 Lloyds Rd Little Elm, TX
                    Property Taxes                                  0.00          0.00         1,172.62      1,172.62
                    Appraisal                                       0.00          0.00         1,200.00      2,400.00
                    Electricity                                     0.00          0.00            38.90         74.04
                Total 1197 Lloyds Rd Little Elm, TX                 0.00          0.00         2,411.52      3,646.66

                1201 Lloyds Rd. Little Elm, TX
                    Locksmith Services                              0.00          0.00           418.32        418.32
                    Beehive Ag Services                             0.00          0.00         1,190.75      1,190.75
                    Property Taxes                                  0.00          0.00        80,955.93     80,955.93
                    Appraisal Services                              0.00          0.00         1,750.00      3,500.00
                    Electricity
                        2 Story House                               0.00          0.00          592.71         869.70
                        Barn                                        0.00          0.00           30.00          61.00
                        Garage Apt                                  0.00          0.00          646.76         798.90
                        Point                                       0.00          0.00           49.59          83.24
                    Total Electricity                               0.00          0.00         1,319.06      1,812.84

                    Insurance                                       0.00          0.00         4,691.67      6,048.06
                    Lawn and Yard Maintenance                       0.00          0.00           880.00      1,236.00
                    Maintenance                                     0.00          0.00             0.00        285.00
                Total 1201 Lloyds Rd. Little Elm, TX                0.00          0.00        91,205.73     95,446.90

                5406 S. Cottonwood Ct.
                    Property Insurance                              0.00          0.00         3,269.04      3,269.04
                    Property Taxes                                  0.00          0.00        11,207.89     22,598.32
                Total 5406 S. Cottonwood Ct.                        0.00          0.00        14,476.93     25,867.36

                7439 Casitas Del Rio Dr AZ
                    Mortgage/Heloc                                  0.00          0.00        11,794.32     35,763.86
                    Appraisal Services                              0.00          0.00             0.00      1,200.00
                    Insurance                                       0.00          0.00         1,503.37      1,950.66
                    Locksmith Services                              0.00          0.00             0.00        369.72
                Total 7439 Casitas Del Rio Dr AZ                    0.00          0.00        13,297.69     39,284.24



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                             SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                     Receivership Administrative Report
                        From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                                         Accounting/                       1/1/21~
                                                          Auditing        Tax Issues       3/31/21         Total


              8221 E Sheridan Scottsdale, AZ
                  Mortgage Payments                               0.00          0.00        25,529.00     25,529.00
                  Property Taxes                                  0.00          0.00         2,080.19      2,080.19
                  Appraisal Services                              0.00          0.00             0.00      1,725.00
                  Insurance                                       0.00          0.00         1,248.13      1,588.53
                  Locksmith Services                              0.00          0.00             0.00        493.72
              Total 8221 E Sheridan Scottsdale, AZ                0.00          0.00        28,857.32     31,416.44

              Port Charlotte, FL Lots
                  Appraisal Fees                                  0.00          0.00            0.00         550.00
                  Insurance                                       0.00          0.00           55.73          65.41
                  Property Taxes                                  0.00          0.00            0.00       3,442.46
              Total Port Charlotte, FL Lots                       0.00          0.00           55.73       4,057.87

           Total Real Property Expenses                           0.00          0.00       150,304.92    199,719.47

           Fund Balance 3/31/21                                                                         8,672,365.80

           Receiver Fees & Costs
              Fees
                  Receiver
                      B. Kane                                     0.00          0.00         9,576.00     17,715.60
                  Total Receiver                                  0.00          0.00         9,576.00     17,715.60

                  Deputies
                     F. Jen                                     241.20          0.00           301.50        301.50
                     A. Jen                                   1,436.40        171.00         1,778.40     10,704.60
                     C. Callahan                                  0.00          0.00         8,865.00     21,847.50
                     C. DeCius                                1,786.05          0.00         1,786.05      3,511.35
                     H. Jen                                       0.00          0.00             0.00         15.00
                     K. Johnson                                   0.00          0.00        13,748.40     27,394.20
                     T. Chung                                 2,683.35          0.00         6,482.25      9,859.05
                  Total Deputies                              6,147.00        171.00        32,961.60     73,633.20

              Total Fees                                      6,147.00        171.00        42,537.60     91,348.80

              Receiver Costs
                 Postage & Delivery                               0.00          0.00           61.61          61.61
                 Website Support                                  0.00          0.00          208.50         514.59
              Total Receiver Costs                                0.00          0.00          270.11         576.20



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                              SEC v. Mediatrix Capital Inc. et al. Receivership QSF
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                          From Inception (September 11, 2020) to March 31, 2021 Quarterly by Class

                                                           Accounting/                       1/1/21~
                                                            Auditing        Tax Issues       3/31/21         Total


                Legal Fees & Costs
                   Barnes & Thornburg LLP
                       Legal Fees                                   0.00          0.00        78,963.05    135,896.95
                       Legal Costs                                  0.00          0.00           356.60      1,794.13
                   Total Barnes & Thornburg LLP                     0.00          0.00        79,319.65    137,691.08

                   Engelman Berger, PC
                      Legal Costs                                   0.00          0.00           114.25         212.79
                      Legal Fees                                    0.00          0.00         3,182.50      10,830.00
                   Total Engelman Berger, PC                        0.00          0.00         3,296.75      11,042.79

                Total Legal Fees & Costs                            0.00          0.00        82,616.40    148,733.87

            Total Receiver Fees & Costs                         6,147.00        171.00       125,424.11    240,658.87

         Total Expenses                                         6,147.00        171.00       275,729.03    440,378.34

         Fund Balance                                                                                     8,431,706.93




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 30th day of April, 2021, I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system which will send notification of such filing

   to parties or counsel registered through ECF. In addition, I hereby certify that I have mailed or

   served the foregoing document or paper to the following non-CM/ECF participants in the

   manner indicated by the non-participant’s name:

                                         Aaron Stewart
                                         23800 North 73rd Place
                                         Scottsdale, AZ 85255



                                                   /s/ Stephanie L. Moore




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